                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 Atlanta Plumbers and Steamfitters
 Health and Welfare Fund, Atlanta
 Plumbers and Steamfitters Retiree
 Health and Welfare Fund, Atlanta
 Plumbers and Steamfitters Pension
 Fund, Plumbers and Steamfitters
 Local 72 Defined Contribution Fund,
 and Terry Newsome, Jr. and Jon
 Sterling, as Trustees of said Funds,

                      Plaintiffs,

             vs.                                   Case No.: 1:21-cv-03263-ELR

 Metropolitan Mechanical, Inc.

                      Defendant.


                               Declaration of Nicole Firestone

        I, Nicole Firestone, declare under penalty of perjury that the following facts

 are true and correct to the best of my knowledge, information, and belief:

             1.    I am the Senior Vice President for National Employee Benefits

Administrators, Inc. (“NEBA”), which administers employee benefit plans for

Plaintiffs Atlanta Plumbers and Steamfitters Health and Welfare Fund, Atlanta

Plumbers and Steamfitters Retiree Health and Welfare Fund, Atlanta Plumbers and




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Steamfitters Pension Fund, Plumbers and Steamfitters Local 72 Defined

Contribution Fund (collectively, “Funds”).

             2.   The Funds are employee benefit plans within the meaning of Section

3(3) of the Employee Retirement Income Security Act of 1974, as amended, 29

U.S.C. § 1002(3) (“ERISA”).

             3.   Pursuant to the collective bargaining agreement between the United

Association of Journeymen and Apprentices of the Plumbing and Pipe Fitting

Industry of the United States and Canada, Local Union No. 72, of Atlanta, Georgia

and the Mechanical Contractors Association of Georgia, Inc. (“Agreement”), to

which Defendant Metropolitan Mechanical, Inc.                (“Defendant”) assented,

Defendant is liable to each of the Funds for fringe benefit contributions

(“Contributions”) due and owing each of them based on the number of hours

worked by members of the Funds. A true and accurate copy of the Agreement is

attached hereto as Exhibit 1.

             4.   Defendant is required to submit payment of all Contributions due

and owing for any given month during the following month. (See Ex. 1, Art. 8, § 4.)

             5.   The Funds filed their Complaint in this action on August 11, 2021, to

collect past due Contributions, as well as statutory damages and attorney’s fees and

costs.



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             6.    Periodically, the Funds are entitled and bound as fiduciaries to conduct

an audit of an employer’s records to confirm that the employer has paid the correct

amount of Contributions due and owing.

             7.    Following an audit of Defendant’s records, the Funds determined that,

for the period from February 1, 2019, through December 31, 2019, Defendant

underpaid its Contributions, resulting in a principal amount owed of $75,742.66.

             8.    The document attached hereto as Exhibit 2 includes the audit materials

and reflects the manner in which the unpaid Contributions were calculated. This

document was created and updated at or near the time that the Funds conducted

their audit. The audit report contained in Exhibit 2 was created by Dennis G. Jenkins,

who is the auditor for the Funds. Exhibit 2 is also kept in the regular course of

NEBA’s business, and it is NEBA’s regular practice to commission such documents.

             9.    As reflected on Exhibit 2, Defendant currently owes Contributions to

the Funds in the amount of $75,742.66.

             10.   As permitted by 29 U.S.C. § 1132(g)(2)(C), the Funds are entitled to

recover an amount equal to the greater of (i) interest on the unpaid Contributions,

or (ii) liquidated damages provided for by the Funds’ plans in an amount not in

excess of twenty percent (20%) of the unpaid Contributions.




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             11.   Pursuant to the Agreement, the trustees of the Funds are authorized

to establish guidelines and regulations for the collection of reasonable liquidated

damages on delinquent Contributions. (See Ex. 1, Art. 8, § 5(a).)

             12.   In this case, the Employer Contribution, Delinquency and Audit

Guidelines and Procedures (“Guidelines”), a true and accurate copy of which is

attached hereto as Exhibit 4, provide for liquidated damages equal to the greater

of $100.00 or 10% of the amount then due. (Ex. 4, Art. 3, § (B)(3).)

             13.   Here, the Funds assessed liquidated damages equal to 10% of the past

due Contributions in the amount of $7,574.27, which is within the limits imposed

by statute. These liquidated damages were calculated at the rate of 10% of past due

Contributions, as reflected on the document attached hereto as Exhibit 2.

             14.   The Funds have demanded that Defendant pay the past due amount,

but Defendants have refused to do so.
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             December ____, 2021.



                                           Nicole Firestone, Declarant




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               EXHIBIT 1 TO FIRESTONE DECLARATION

    Collective Bargaining Agreement Between the United Association of
Journeymen and Apprentices of the Plumbing and Pipe Fitting Industry of the
  United States and Canada, Local Union No. 72, of Atlanta, Georgia and the
             Mechanical Contractors Association of Georgia, Inc.




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             Correspondence from the Funds, including Audit Materials




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                            Atlanta Plumbers and Steamfitters
                                   Fringe Benefit Funds
                            c/o National Employee Benefits Administrators, Inc.
                                            1 (888) 365-0072




April 8, 2021

Via EMAIL: bjmiele@gmail.com

Metropolitan Mechanical, Inc.
1015 Saratoga Court
Braselton, GA 30517-2473



Re: Atlanta Plumbers and Steamfitters Health and Welfare Fund
    Atlanta Plumbers and Steamfitters Pension Fund
    Plumbers and Steamfitters Local 72 Defined Contribution Fund

Dear Mr. Miele,

Enclosed are copies of the payroll audits performed on Metropolitan Mechanical, Inc. by the Funds’ auditor
Dennis G. Jenkins, C.P.A., LLC. The audits cover the period of February 1, 2019 through December 31, 2019.
Exceptions are as noted below:


                        Fund                           Findings                         Amount
            Health and Welfare Fund         Underpayment                              $ 54,317.26

            Pension Fund                    Underpayment                              $ 13,664.28

            Defined Contribution Fund       Underpayment                              $ 7,761.12

                                            Total Underpayment                        $ 75,742.66

                                            10% Late Fees                             $ 7,574.27

                                            Total Amount Due                          $ 83,316.93




                                             ADMINISTRATIVE MANAGER:

                                   National Employee Benefits Administrators, Inc.
                            1.888.365-0072 (Toll Free) • 954.266.6322 • 954.266.2079 (Fax)
                                                  www.nebainc.com
    2010 N.W. 150th Ave, Suite 200                                                374 Maynard Terrace, S.E., Suite 72
      Pembroke Pines, FL 33028                                                             Atlanta, GA 30316
                            Atlanta Plumbers and Steamfitters
                                   Fringe Benefit Funds
                            c/o National Employee Benefits Administrators, Inc.
                                            1 (888) 365-0072


Per the Collective Bargaining Agreement and the Delinquency Policy of the Atlanta Plumbers and Steamfitters Fringe
Benefit Funds, Remittance Reports and payments are due within ten (10) days following the period in which the
work was performed. Contributions are considered delinquent after 20 days and after 30 days liquidated damages
are assessed equivalent to the greater of $100 or 10% of the amounts due.

Please remit payment of amounts due within ten (10) days of receipt of this letter in order to avoid additional
collection actions. You can send your check to the following address:

                                MSC 410920 Atlanta Plumbers & Pipefitters LU 72
                                               P.O. Box 415000
                                          Nashville, TN 37241-0920

Please enclose a copy of this letter with your payment to ensure you receive proper credit.

Sincerely,

The Board of Trustees




Enclosures

C.C. Jeff Gordon, Esq.




                                             ADMINISTRATIVE MANAGER:

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                            1.888.365-0072 (Toll Free) • 954.266.6322 • 954.266.2079 (Fax)
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    2010 N.W. 150th Ave, Suite 200                                                374 Maynard Terrace, S.E., Suite 72
      Pembroke Pines, FL 33028                                                             Atlanta, GA 30316
               EXHIBIT 3 TO FIRESTONE DECLARATION

  Employer Contribution, Delinquency and Audit Guidelines and Procedures




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